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                                                                                                                                          Incident Number
HURON POLICE
 417 MAIN ST HURON, OHIO 419-433-4114                                      Incident I Offense Reporl                                          20-190550
                              Method Received           Time Received          Time Dispatched             Time Arrived       Time Cleared:
         Offense                        T                   18:52:00               18:52:00                  18:54:00              19:30:00
                        Report Date/ Time                              Incident Occurred From                            Incident Occured To
                            Date          Time                        Date                 Time                       Date                Time
                   Tuesday 05/14/2019       19:40:34         Tuesday 05/14/2019         18:52:00             Tuesday 05/14/2019           19:30:00
Location of the Incident (Street#, Street, Apt.#, City, State, Zip)                                                                                    Zone
417 MAIN ST HURON OH 44839 HURON CITY BUILDING                                                                                                           NW
Persons:     ST ACY ANN HINNERS - ARA                                           Property:
Involved:    HPD SOCIETY - VIC
             BRADD HARTUNG - WIT                                                Amount:
                 -
                   -
                   -                                                            Type:
          Units:        Officers:
1st:       146          JOHN W ORZECH
2nd:       193          KEVIN R KOEHLER
3rd:
4th:
5th:                                                                                             Photos:          0
Codes:             Descriptions:                                        OFFENSES
 5307              DISTURBING LAWFUL MEETING                                                                              509.04




Weapons Used:                                                                    Trade Marks:                                                        Hate Bias



Entry:                                                                                                Location Type:
                                                                                                      Government Bldg.lproperty

Refer to Arrest:                    Incident#:                  Tow#:                       Dispatcher: 2200       Officer in Charge: 146      Entry Id: 146


 Case Status:                                           Cleared Date: 05/14/2019                                          Cleared By: 146


Narrative:             20-190550                Page:   1
      Chief Lippert contacted me in reference to an unknown subject causing problems at the Huron City Council Meeting. Ofc Koehler
 and I responded and were met by Mayor Brad Hartung. Mayor Hartung advised us that Stacy Hinners was disrupting the council
 meeting and he wished for her to be removed. Ofc Koehler and I entered the Huron Municipal Court room where the meeting was
 being held. We located Ms Hinners and requested she step out of the meeting so that we may speak with her.
      Ms Hinners refused to exit the meeting and instead began arguing. Mayor Hartung again informed us that he wished to have Ms
 Hinners removed from the meeting. Officers informed Ms Hinners she would now have to leave the meeting or it would result in
 arrest. After multiple attempts of trying to persuade Ms Hinners to leave the meeting on her own accord, she informed officers we
 would have to forcefully remove her. Ofc Koehler grabbed Ms Hinners right wrist and I grabbed her left wrist attempting to place
 her in the escort position. Ms Hinners then began resisting us and attempting to pull away. Ms Hinners was placed against a nearby

JAMES BOWENS                                                                                               OFC. JOHN W ORZECH
Reviewine. Supervisor:                             Bureau Supervisor:                                  Officer:



                                                                                                                                      A-08
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 Narrative:       20-190550            Page: 2
 wall so that officers may gain control of her. Ofc Koehler and I were finally able to place Ms Hinners in hand restraints and escort
 her to the booking room where she was placed in the processing chair. Ms Hinner's paperwork was completed on a summons and she
 was released from custody.
      Stacy Hinners was issued summons #1446 for Disturbing a Lawful Meeting (M4). She was given an initial court appearance on
 May 17th, 2019 in Huron Municipal Court. An attempt to gain audio and video will be made and attached to this report along with a
 statement from Mayor Hartung.




JAMES BOWENS                                                                             OFC. JOHN W ORZECH
Reviewing Supervisor:                      Bureau Supervisor:                          Officer:
             Case: 1:19-cv-02868-PAB Doc #: 31-9 Filed: 03/25/20 3 of 4. PageID #: 1077

HURON POLICE                                                                                                Incident Number

 Page# 3                          Persons Involved with Incident                                               20-190550

Incident#:          Relation:            Arrest#:         CAD#:                              Date of Contact: Phone:
20190550            ARA                  905127                                              05/14/2019      216-287-6991
First Name:       Middle                 Last Name:                    Til:   DOB:           SSN:            Pager:
STACY             ANN                    HINNERS                              08/25/1978     268767055
Street#: Street Name:                    Apt:    City:                        St:   Zip:     Cell Phone:     Employee Phone:
1130      MUDBROOKRD                             HURON                        OH    44839
Hgt:    Wgt:      Hair:   Eyes:   Race: Sex: Physical Marks:
505     150       BRO     BRO      w F
Offenses:         5307      DISTURBING LAWFUL MEETING



Resident Class:           Suspected of using:                                               Victim Type:
Resident                                    I                      I

Incident#:          Relation:            Arrest#:         CAD#:                              Date of Contact: Phone:
20190550            VIC                  905127                                              05/14/2019
First Name:       Middle                 Last Name:                    Til:   DOB:           SSN:            Pager:
HPD                                      SOCIETY
Street#: Street Name:                    Apt:    City:                        St:   Zip:     Cell Phone:     Employee Phone:
                                                 HURON                        OH    44839
Hgt:    Wgt:      Hair:   Eyes:   Race: Sex: Physical Marks:
                                   u     u
Offenses:         5307      DISTURBING LAWFUL MEETING



Resident Class:           Suspected of using:                                               Victim Type:
Resident                                    I                      I                        Society/pulic
Incident#:          Relation:            Arrest#:         CAD#:                              Date of Contact: Phone:
20190550            WIT                  905127                                              05/14/2019      419-656-4467
First Name:       Middle                 Last Name:                    Til:   DOB:           SSN:            Pager:
BRAD              D                      HARTUNG                              08/31/1970     296748167
Street#: Street Name:                    Apt:    City:                        St:   Zip:     Cell Phone:     Employee Phone:
816       SALEM DR                               HURON                        OH    44839
Hgt:    Wgt:      Hair:   Eyes: Race: Sex: Physical Marks:
600     230       BRO     BLU    w M
Offenses:         5307      DISTURBING LAWFUL MEETING



Resident Class:           Suspected of using:                                               Victim Type:
Resident                                    I                      I




                                                                                            OFC. JOHN W ORZECH
  Reviewing Supervisor:                          BureauSupervisor:                           Officer:
          Case: 1:19-cv-02868-PAB Doc #: 31-9 Filed: 03/25/20 4 of 4. PageID #: 1078

 HURON POLICE                                                                                        Incident Number

 Investigative Report            Title/ Subject: WRITTEN STATEMENT                                     20-190550
     On this date Mayor Brad Hartung appeared on station to tum in his written statement. I reviewed the
statement and then signed and dated the form. Mayor Hartung's statement states the following:

     "At approximately 6:52 pm on May 14, 2019 during the audience comments portion of the Huron City
Council meeting. Mrs. Stacey Hinners stood at her seat, turned to the audience in attendance and said she
would speak from there. Mrs. Hinners was informed she needed to step to the podium to address council. She
refused, I asked her a second time and she approached the podium, tum her back to coucil and started to speak
to the audience. I asked Mrs. Hinners to tum around and speak to council, she refused. I gaveled her and
asked her once again to address council, she refused. I gaveled a second time and asked her once more to
address council. After several tries to get Mrs. Hinners to get Mrs. Hinners to follow the rules and not be
disruptive in a public meeting, I pressed the buzzer into the PD. After no response and with Mrs. Hinners still
disrupting the meeting, I went to the PD to find an Officer. None were present at the time, so I returned to the
meeting, sat down and Vice-Mayor Hardy announced her 3 minute time limit had expired. She turned to
council made a statement about a gentleman at a previous meeting speaking for 5 minutes and said she was
going to keep speaking. I informed Mrs. Hinners her time had expired, she made some sarcastic remarks said
it was "par for the course" and sat in her seat, still causing a disruption. Officers arrived and asked her to leave
and she became combative, telling the Officers to remove her. She failed to comply with the Officers and was
removed, continuing to disrupt the public meeting."
     A copy of Mayor Hartung's statement will be attached to this report.




By: Det. Matthew A Jacobs                          Badge#251       Date:05/15/2019   Time: 10:46:5 No.001 Page#: 4
Reviewing Supervisor: _______________                          _     Date: _____          _
